Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ALABAMA

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Young Men's Christian Association of Metropolitan Huntsville, Alabama

2.   All other names debtor       DBA Heart of the Valley YMCA
     used in the last 8 years     Downtown Express YMCA
     Include any assumed
                                  Hogan Family YMCA
     names, trade names and       Southeast Family YMCA
     doing business as names      YMCA Camp Cha-La-Kee
                                  YMCA Downtown Early Childhood Education Center
                                  YMCA Northwest Early Childhood Education Center
                                  YMCA Southeast Early Childhood Education Center

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  238 BUSINESS PARK BLVD SUITE 101
                                  Madison, AL 35758
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                       Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       WWW.YMCAHUNTSVILLE.ORG


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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          Name



7.   Describe debtor's business       A. Check one:
                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       Railroad (as defined in 11 U.S.C. § 101(44))
                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       None of the above
                                      B. Check all that apply
                                       Tax-exempt entity (as described in 26 U.S.C. §501)
                                       Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
     debtor filing?
                                       Chapter 7
                                       Chapter 9
                                       Chapter 11. Check all that apply:
                                                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 4/01/25 and every 3 years after that).
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                           The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                           A plan is being filed with this petition.
                                                           Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                       No.
     the debtor within the last 8      Yes.
     years?
     If more than 2 cases, attach a
     separate list.                            District                                When                                 Case number
                                               District                                When                                 Case number




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          Alabama
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities
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                             $0 - $50,000                        $1,000,001 - $10 million               $500,000,001 - $1 billion
                             $50,001 - $100,000                  $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                 $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million               $100,000,001 - $500 million            More than $50 billion




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          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 23, 2024
                                                  MM / DD / YYYY


                             X /s/ Jeff Collen                                                            Jeff Collen
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Executive Officer




18. Signature of attorney    X /s/ Kevin D. Heard                                                          Date August 23, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kevin D. Heard
                                 Printed name

                                 Heard, Ary & Dauro, LLC
                                 Firm name

                                 303 Williams Avenue
                                 Park Plaza, Suite 921
                                 Huntsville, AL 35801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     256-535-0817                  Email address      kheard@heardlaw.com

                                 ASB-4873-E50K AL
                                 Bar number and State




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          SPECIAL MEETING OF THE EXECUTIVE COMMITTEE
                  OF THE BOARD OF DIRECTORS OF THE
  YOUNG MEN’S CHRISTIAN ASSOCIATION OF METROPOLITAN HUNTSVILLE,
   ALABAMA d/b/a HEART OF THE VALLEY MEN’S CHRISTIAN ASSOCIATION

         The Executive Committee of the Board of Directors (the “Executive Committee”) of The
 Young Men’s Christian Association of Metropolitan Huntsville, Alabama d/b/a the Heart of the
 Valley Young Men’s Christian Association, an Alabama nonprofit corporation (the “Company”),
 hereby adopted and approved these resolutions after consideration at a properly noticed Special
 Meeting of the Executive Committee held on August 22, 2024 (the “Resolutions”) and directed
 that these Resolutions be filed with the Company’s official minutes:

        A.      Chapter 11 Filing

         WHEREAS, the Executive Committee has considered presentations by management and
 the financial and legal advisors of the Company regarding the liabilities and liquidity situation of
 the Company, the strategic alternatives available to it and the effect of the foregoing on the
 Company’s business; and

         WHEREAS, the Executive Committee has had the opportunity to consult with the
 management and the financial and legal advisors of the Company and fully consider each of the
 strategic alternatives available to the Company.

        NOW, THEREFORE, IT IS

         RESOLVED, that in the judgment of the Executive Committee, it is desirable and in the
 best interests of the Company, its creditors, and other parties in interest, that the Company shall be
 and hereby is authorized to file or cause to be filed a voluntary petition for relief for the Company
 (the “Chapter 11 Case”) under the provisions of chapter 11 of title 11 of the United States Code
 (the “Bankruptcy Code”) in a court of proper jurisdiction (the “Bankruptcy Court”); and it is
 further

         RESOLVED, that the Chief Executive Officer and Chief Financial Officer (the
 “Authorized Officers”), acting alone or with one or more other Authorized Officers be, and they
 hereby are, authorized, empowered and directed to execute and file on behalf of the Company all
 petitions, schedules, lists and other motions, papers, or documents, and to take any and all action
 that they deem necessary or proper to obtain such relief, including, without limitation, any action
 necessary to maintain the ordinary course operation of the Company’s business; and it is further

        RESOLVED, that the Authorized Officers, acting alone or with one or more other
 Authorized Officers, be, and they hereby are, authorized, empowered and directed to certify the
 authenticity of these resolutions.

        B.      Retention of Professionals

         IT IS FURTHER RESOLVED, that each of the Authorized Officers be, and they hereby
 are, authorized and directed to employ the law firm of Heard, Ary & Dauro, LLC as general
 bankruptcy counsel to represent and assist the Company in carrying out its duties under the

                                                   6

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 Bankruptcy Code, and to take any and all actions to advance the Company’s rights and obligations,
 including filing any pleadings; and in connection therewith, each of the Authorized Officers, with
 power of delegation, are hereby authorized and directed to execute appropriate retention
 agreements, pay appropriate retainers, and to cause to be filed an appropriate application for
 authority to retain the services of Heard, Ary & Dauro, LLC; and it is further

         RESOLVED, that each of the Authorized Officers be, and they hereby are, with power of
 delegation, authorized, empowered and directed to execute and file all petitions, schedules,
 motions, lists, applications, pleadings, and other papers and, in connection therewith, to employ
 and retain all assistance by legal counsel, accountants, financial advisors, and other professionals
 and to take and perform any and all further acts and deeds that each of the Authorized Officers
 deem necessary, proper, or desirable in connection with the Chapter 11 Case, with a view to the
 successful prosecution of such case.

        C.      General

         RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
 Authorized Officers, each of the Authorized Officers (and their designees and delegates) be, and
 they hereby are, authorized and empowered, in the name of and on behalf of the Company, to take
 or cause to be taken any and all such other and further action, and to execute, acknowledge, deliver,
 and file any and all such agreements, certificates, instruments, and other documents and to pay all
 expenses, including but not limited to filing fees, in each case as in such officer’s or officers’
 judgment, shall be necessary, advisable or desirable in order to fully carry out the intent and
 accomplish the purposes of the resolutions adopted herein; and it is further

         RESOLVED, that all members of the Executive Committee have received sufficient notice
 of the actions and transactions relating to the matters contemplated by the foregoing resolutions,
 as may be required by the organizational documents of the Company, or hereby waive any right to
 have received such notice; and it is further

         RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
 by the foregoing resolutions done in the name of and on behalf of the Company, which acts would
 have been approved by the foregoing resolutions except that such acts were taken before the
 adoption of these resolutions, are hereby in all respects approved and ratified as the true acts and
 deeds of the Company with the same force and effect as if each such act, transaction, agreement
 or certificate has been specifically authorized in advance by resolution of the Executive
 Committee; and it is further

         RESOLVED, that each of the Authorized Officers (and their designees and delegates) be
 and hereby are authorized and empowered to take all actions or to not take any action in the name
 of the Company with respect to the transactions contemplated by these resolutions hereunder, in
 each case, as such Authorized Officer shall deem necessary or desirable in such Authorized
 Officers’ reasonable business judgment as may be necessary or appropriate to effectuate the
 purposes of the transactions contemplated herein.

       These Resolutions may be signed in one or more counterparts, each of which shall be
 deemed an original, and all of which shall constitute one instrument.


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         The undersigned attest to these Resolutions as the approved actions of the Executive
 Committee of the Board of Directors of The Young Men’s Christian Association of Metropolitan
 Huntsville, Alabama d/b/a the Heart of the Valley Young Men’s Christian Association effective
 as of the 22nd day of August, 2024.




 David Bier                                        Jay Cobb



 Orlis Moss                                        Jared Sharp



 Brittany Toth                                     Karockas Watkins




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